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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
  BARNABAS HEALTH, INC.
                                Plaintiff
    v.                                                Civil Action No. _2:21-cv-12508-JMV-AME
                                                                        __________________________________________

 TOUCHSTONE TECHNOLOGY CONSULTING OPS. INC.
                                Defendant



                     CORPORATE DISCLOSURE STATEMENT

         The undersigned counsel for ______________________________________________,
                                               Touchstone Technology Consulting Ops. Inc.
         certifies that this party is a non-governmental corporate party and that:


         This party’s parent corporation, and all publicly held corporations owning 10% or
         more of this party’s stock, are listed here:

         _____________________________________________________________________
         _____________________________________________________________________
         _____________________________________________________________________

                                              OR

✔        This party does not have a parent corporation, nor is there any publicly held corporation
         that owns 10% or more of this party's stock.


                                                             s/Mark R. Faro, Esq.
                                                             Signature of Attorney

                                                              151 W. Passaic Street, 2nd Floor
                                                              Address

                                                             Rochelle Park, NJ 07662
                                                             City/State/Zip

                                                             08/05/2021
                                                             Date




                                                                                    DNJ-CMECF-005 (10/2018)
